
33 N.Y.2d 669 (1973)
The People of the State of New York, Respondent,
v.
Mary Parker, Appellant.
Court of Appeals of the State of New York.
Argued September 20, 1973.
Decided October 11, 1973.
Allen E. Burns and William E. Hellerstein for appellant.
Frank S. Hogan, District Attorney (Alan L. Kovacs and Michael R. Juviler of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order modified in accordance with the following memorandum, and, as so modified, affirmed: Although we find the evidence of harassment sufficient to establish the defendant's guilt of that violation beyond a reasonable doubt, we conclude that her conviction for attempted resisting arrest should be reversed, the charge dismissed and the fine remitted on the ground that, as candidly and forthrightly conceded by the District Attorney, the People failed to prove that the arrest in question was authorized as is required by section 205.30 of the Penal Law.
